                  Case 14-21394   Filed 10/20/15   Doc 176       FILEb
                                                                OCT 202015
                  UNITED STATES BANKRUPTCY COUL
                                                       UNITED
                  EASTERN DISTRICT OF CALIFORN



In re:                                      Case No. 14-21394-B-13

PATRICK CLARK and SUZANNE CLARK,            DC No. PP-2


                     Debtor(s)



                        NOT FOR PUBLICATION



     14EMORANDUN DECISION AND ORDER (1) GRANTING CLARIFICATION
 MOTION AND AMENDING ORDER OF SEPTE4BER 11, 2015, TO GRANT MOTION
 TO APPROVE VALUATION AND TRANSFER OF STOCK PURSUANT TO CONFIRMED
     CHAPTER 13 PLAN AND (2) DENYING EXTENSION MOTION AS MOOT

INTRODUCTION
     This memorandum decision addresses two motions filed, by S&J

Advertising, Inc., pending before the court:


         a Motion to Clarify Procedures Governing Motion to
     Approve Valuation and Transfer of Stock Pursuant to
     Confirmed Chapter 13 Plan; Alternatively Motion to
     Enlarge Time for Removal; Request for Determination
     That Proceeding is Non-Core filed on September 16,
     2015; and
         a Motion to Extend Time for Appeal of Order Denying
     Motion to Approve Valuation and Transfer of Stock
     Pursuant to Confirmed Chapter 13 Plan filed on
     September 23, 2015.
      The court is also aware of a notice of appeal filed on
 September 23, 2015, by debtors Suzanne and Patrick Clark.'
      Each of these matters relate to oral rulings the court
 placed on the record in open court on September 9, 2015, and the


      'To avoid confusion, "co-debtor" will refer to Suzanne Clark
Ld "debtors" will refer to Patrick and Suzanne Clark.
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1 corresponding order entered on September 11, 2015, that
2 incorporates the oral rulings. Both the oral rulings and order
3 grant in part and deny in part the corporation's            Motion to

4 Approve Valuation and Transfer of Stock Pursuant to Confirmed
5    Chapter 13 Plan filed on June 10, 2015. 2

6         The court has reviewed the clarification motion and its
7 supplement, the debtor's opposition to the clarification motion,
8 the corporation's reply, and all related supporting exhibits and
9 declarations. The court also heard and has considered the
10 argument of counsel stated on the record in open court on October
11 14, 2015. Appearances were noted on the record of that hearing.
12 This memorandum decision disposes of both the extension and the
13 clarification motions. It also amends the court's earlier
14 decision on the valuation and transfer motion.

15        Because the clarification motion was filed five days after
16 the order on the valuation and transfer motion was entered, the
17 court will treat the clarification motion as a motion under

18   Federal Rule of Civil Procedure 52(b) applicable by Federal Rule

19
20         2 Generally, in granting that motion in part and denying it in

      part the court (I) held that the co-debtor's corporate shares
21   could (and would) be sold under 11 U.S.C. § 363 without regard to
      California Corporations Code § 2000, (ii) declined to reach the
22   debtors' constitutional objections to CCC § 2000 because the
      valuation and transfer motion could be resolved under the
23   Bankruptcy Code, (iii) found that the debtors are precluded by
      judicial estoppel from claiming the $247,000 appraised "fair
24   value" of the co-debtor's 50% interest in the corporation agreed
      to by jointly-appointed appraisers is too low, (iv) denied the
25    debtors' request to conduct discovery related to the appraisal,
      and (v) set an evidentiary hearing to confirm the joint
26   appraisers' valuation. The court reserved for determination at
      or after the evidentiary hearing other objections by the debtors
27   to the joint-appraisal report.

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1 of Bankruptcy Procedure 7052 and/or a motion under Federal Rule
2 of Civil Procedure 59(e) applicable by Federal Rule Bankruptcy
3 Procedure 9023. That renders the corporation's request for an
4 extension of time to appeal from the decision on the valuation

5    and transfer motion to October 28, 2015, moot because the
6 corporation will now have fourteen days after this decision is

7    entered to appeal from the valuation and transfer motion and/or

8 this decision if it elects to do so. See Fed. R. Bankr. P.
9 8002(b) (1) (A)-(B) . Because the clarification motion was filed
10 seven days before the debtors' notice of appeal, that also means
11 the notice of appeal (assuming the appeal is not from an
12 interlocutory order) becomes effective upon entry of this

13 decision.    See Fed. R. Bankr. P. 8002 (b) (2)

14        The clarification motion asks the court to clarify whether
15 or not CCC § 2000 governs the corporation's valuation and

16   transfer motion or, in other words, whether CCC § 2000 governs

17   the sale of the co-debtor's 50% interest in the corporation

18   required by the Debtors' Third Modified Chapter 13 Plan. The

19   court previously concluded that CCC § 2000 did not govern the
20 valuation and transfer motion and that the co-debtor's 50%
21 interest in the corporation could (and would) be sold under
22 § 363. The court clarifies and amends that decision.
23        Upon further consideration, the court now concludes that CCC
24 § 2000 governs the valuation and transfer motion and the sale of
25   the co-debtor's 50% interest in the corporation required by the
26 third modified plan. The clarification motion also asks the
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court to extend the now-passed deadline to remove the CCC § 2000
proceeding pending in Solano County Superior Court. Based on
this amended decision, the corporation's request for an extension
of the removal deadline will be denied as moot. And the
clarification motion asks the court to determine if the valuation
and transfer motion is a core or non-core proceeding. That

determination is provided below.


BACKGROUND

     The debtors filed their chapter 13 petition on February 4,
2014. The co-debtor owned a 50% interest in the corporation when

the petition was filed.
     On June 4, 2014, the co-debtor elected to voluntarily
dissolve the corporation. That election is irrevocable under CCC

§ 1902.
     On August 11, 2014, the corporation filed a petition in
state court to stay the irrevocable dissolution process and to
ascertain the value of the co-debtor's corporate interest under
CCC § 2000. The state court granted the corporation's petition

on December 12, 2014.
     On January 27, 2015, the corporation moved for relief from
the automatic stay of 11 U.S.C. § 362(a) to continue the CCC
§ 2000 process pending in state court. This court granted that
motion in part and denied it in part in an order entered on March
4, 2015. Since the state court had already appointed the
parties' jointly-selected appraisers, this court concluded it was



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more economical and a better use of resources to allow the joint
appraisers to complete their work and value the co-debtor's 50%

interest in the corporation. This court also ordered that        w[ a   ]ll

further proceedings relating to the continuation and completion
of Corporations Code § 2000 process to value and purchase the

debtor's shareholder interest shall be brought before this

court."
        On March 10, 2015, six days after the stay relief order was
entered, the debtors filed their third modified plan and a motion
to confirm it. The third modified plan includes an "additional
provision" that requires the debtors to contribute no less than
$160,000 from the sale of the co-debtor's 50% interest in the
corporation to fund the plan. The third modified plan also
states that upon confirmation all property of the estate shall
revest in the debtors. The motion to confirm the third modified
plan was granted in a minute order entered on May 18, 2015. The
confirmation order was entered the following day on May 19, 2015.


DISCUSSION
        Federal Rule of Civil Procedure 52(b), incorporated by
Federal Rule of Bankruptcy Procedure 7052, allows the court to
amend its findings or make additional findings and amend its
judgment accordingly. A motion under Rules 52(b)/7052 may also
be joined with a motion under Federal Rule of Civil Procedure
59(e), as incorporated by Federal Rule of Bankruptcy Procedure

9023.


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 1       Rules 59(e)/9023 allow the court to alter or amend a

2    judgment. In a recent opinion, Tattersalls, Ltd. v. DeHaven, 745

3    F.3d 1294 (9th Cir. 2014), the Ninth Circuit explained that if a

4    court makes a substantive change in its decision, the judgment

5    must be amended under Rule 59(e) . Id. at 1299. Amending a

6    judgment under Rule 59(e)/9023 after its entry is 'an

7    extraordinary remedy which should be used sparingly." Allstate

 8   Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011) . A Rule

 9   59(e)/9023 motion may not be used to raise arguments or present

10   evidence for the first time that could have been raised or

11   presented earlier in the litigation. Kona Enter., Inc. v. Estate

12   of Bishop, 229 F.3d 877, 890 (9th Cir. 2000) (citation omitted)

13   However, such a motion may be granted on one of four grounds:

14        (1) if such motion is necessary to correct manifest
          errors of law or fact upon which the judgment rests;
15        (2) if such motion is necessary to present newly
          discovered or previously unavailable evidence; (3) if
16        such motion is necessary to prevent manifest injustice;
          or (4) if the amendment is justified by an intervening
17        change in controlling law.

18   Allstate, 634 F.3d at 1111.

19        The remedy afforded under Rules 59(e)/9023 is appropriate in

20   this case for two reasons: (1) to correct manifest errors of law

21   and fact; and (2) to prevent manifest injustice.

22

23        A.   The Court Previously Did Not Fully Consider the Effect
               of the Revestinc Provision in the Debtors' Confirmed
24             Third Modified Plan.

25        The court previously concluded that the co-debtor's 50%

26   interest in the corporation could be sold under § 363 without

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1 regard to CCC § 2000 because that interest was property of the
2 estate over which the court had exclusive jurisdiction. While
3 that may have been a correct assessment before the third modified

4 plan was confirmed on May 19, 2015, the court now recognizes that

5    under 11 U.S.C. § 1327(b) that was not a correct assessment when
6 the valuation and transfer motion was filed on June 10, 2015, and

7    heard on September 9, 2015.      Upon confirmation of the third

8 modified plan, § 1327(b) operated to revest the co-debtor's
9 corporate interest in the co-debtor. Revesting fundamentally
10 transformed the nature of the co-debtor's 50% interest from
11 property of the estate to property of the debtor. That

12 transformation is not insignificant.

13        The court has reviewed and considered cal. Franchise Tax Ed.
14 v. Kendall (In re Jones), 657 F.3d 921 (9th Cir. 2011), which it

15   previously overlooked and neither party cited. The issue decided

16   by the Ninth circuit in Jones was whether a taxing authority had

17   violated § 362(a) in seeking to collect delinquent, post-petition
18 taxes from the debtor during the pendency of the debtor's chapter
19 13 plan. The Ninth circuit held that, under § 1327(b), because
20 the debtor had a confirmed chapter 13 plan that vested property
21 of the estate in the debtor-as opposed to the bankruptcy
22 estate-the taxing authority did not violate the automatic stay by
23 attempting to collect the taxes from the debtor. Id. at 928-29.

24
25         11 U.S.C. § 1327(b) states as follows:

26        (b) Except as otherwise provided in the plan or the
          order confirming the plan, the confirmation of a plan
27        vests all of the property of the estate in the debtor.

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 1    In reaching its decision, the Ninth Circuit discussed various

2     interpretations by courts as to whether, and to what degree,

3     property of the estate revests in a debtor upon plan confirmation

4     under § 1327 (b); however, it declined to adopt a particular

 5    approach. j. at 928. Instead, the court concluded that it was

 6    sufficient under the facts of the case to Thold that under the

 7    plain language of § 1327 (b), the property of the estate revests

 8 in the debtor upon plan confirmation, unless the debtor elects
 9 :
     otherwise in the plan." Id.

10         Although the Ninth Circuit did not find it necessary to

11    endorse a particular vesting rule under § 1327(b), the Ninth

12    Circuit Bankruptcy Appellate Panel (which the Ninth Circuit

13    affirmed) had adopted such a rule in its published opinion.

14    After reviewing four approaches under § 1327 (b), the BAP adopted

15    the "estate termination approach" under which "all property of

16    the estate vests in the debtor at confirmation[,]" unless the

17    plan or confirmation order provides differently. Cal. Franchise

18    Tax Bd. v. Jones (In re Jones), 420 B.R. 506, 514 (9th Cir. BAP

19    2009) (citation omitted) . In other words, according to the BAP,

20    the bankruptcy estate ceases to exist upon plan confirmation

21    except for property the plan or confirmation order clearly

22    reserves for the bankruptcy estate. Id. at 517. This court

23    agrees with that approach.

24         Under Jones, then, the question is whether by committing

25    $160,000 in proceeds from a sale of the co-debtor's 50% interest

26    in the corporation to fund the third modified plan it was

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1 intended that the co-debtor's entire corporate interest would
2 remain property of the estate despite a provision in that plan

3 that property of the estate revests in the debtors upon
4 confirmation. In answering this question, the court finds the

5        recent decision by Hon. Jim D. Pappas, United States Bankruptcy
6 Judge District of Idaho, in In re Thiel, 2015 WL 2398555 (Bankr.

7        D. Idaho 2015), extremely persuasive.

8             In Thiel, the trustee sought to sell the debtor's residence
9 under § 363(h) after the debtor's plan was confirmed. Id. at
10 2. The trustee relied on Jones to argue that by committing
11 proceeds from the sale of the residence to fund the plan, the
12 residence did not revest in the debtor upon confirmation but,
13 instead, remained property of the estate that the trustee could

14 sell post-confirmation under § 363.            j. at *4• The court
15 rejected that argument. The court first explained that under

16       § 1327(b) the residence lost its status as property of the estate

17       upon confirmation of the debtor's plan. Id. It also noted that

18       the debtor's plan provided for the revesting of property of the

19   I   estate in the debtor and the plan provision that obligated the
20 debtor to fund the plan with proceeds from the sale of the
21 residence was not the type of specific provision that Jones
22 required in order to prevent property from revesting in the
23 debtor upon confirmation and to instead remain property of the
24 estate. Id. at *4_5
25            In this case, the third modified plan states that property
26 of the estate shall revest in the debtors upon confirmation. And

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28                                         WE
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1 although the "additional provision" in that plan obligates the

2 co-debtor to turn over no less than $160,000 to fund the plan

3    1   upon the sale of her interest in the corporation, this court
         agrees with Thiel and concludes that language is insufficient to

5        utilize the "except as otherwise provided" provision of
6 § 1327 (b) . Thiel, 2015 WL 2398555 at *5 (citing Jones, 420 B.R.

7        at 516-17 ("If a debtor seeks to postpone revesting of all or
8 some of the property of the estate, the plan or order of
9 confirmation should clearly say so. Saying so is easy to do."
10 (Quotation omitted) ) ." That means that upon confirmation of the
11 third modified plan the estate ceased to exist, the co-debtor's
12 50% corporate interest revested in the co-debtor, and the cc-
13 debtor's corporate interest lost its status as property of the
14 estate. No longer property of the estate, the co-debtor's 50%
15 interest in the corporation could not be sold under § 363 which

16 applies only to sales of property of the estate.

17            In sum, by confirming a chapter 13 plan that revests
18 property of the estate in the debtors, and does not specifically
19 reserve the co-debtor's 50% interest in the corporation as
20 property of the estate upon confirmation, the sale required by
21 the terms of the third modified plan and the valuation and
22 transfer motion are governed by COO § 2000 because § 363 is no
23 longer applicable to the mandatory sale of the co-debtor's
24 corporate interest post-petition.

25            One final point of clarification. Because the court has now
26 determined that CCC § 2000 applies to the valuation and transfer

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 1   motion and governs the sale and transfer of the co-debtor's 50%

2    interest in the corporation, the court touches briefly on the

3    constitutional objections to CCC § 2000 and the CCC § 2000

4    process the debtors raised in opposition to the valuation and

5    transfer motion. The court reaffirms its earlier ruling that it

 6   need not reach those constitutional objections because of its

 7   ability to resolve the valuation and transfer motion under the

 8   Bankruptcy Code as it has done in this amended decision, albeit

 9   under a different provision. 4

10        In relevant part, § 1327(a) states that "the provisions of a

11   confirmed [chapter 13] plan bind the debtor[.]" Principles of

12   res judicata and finality, as partly codified in § 1327(a), can

13   make even illegal provisions of a chapter 13 plan binding.

14   County of Ventura Tax Collector v. Brawders (In re Brawders), 503

15   F.3d 856 (9th Cir. 2007); In the Matter of Gregory, 705 F.2d

16   1118, 1121 (9th Cir. 1983) (failure to raise objection to

17   legality of confirmation at hearing or to appeal from

18   confirmation order precludes later attack on plan or provision as

19   illegal) . Moreover, the res judicata effect of a confirmed

20   chapter 13 plan is not necessarily limited to issues actually

21   known prior to the confirmation hearing but, rather, includes all

22
23         4 AlLthough the debtors question the constitutionality of a

     state statute, they did not comply with Federal Rule of
24   Bankruptcy Procedure 9005.1 (incorporating Federal Rule of Civil
     Procedure 5.1) which requires notice to the California Attorney
25   General and certification by the court under 28 U.S.C. § 2403.
     Because the court is adjudicating the matter without reaching the
26   constitutional question, compliance with the Rule is not
     required. See In re Clemente, 409 B.R. 288, 294 n.6 (Bankr. N.J.
27   2009)

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1 issues that could have or should have been litigated at or before
2 the confirmation hearing. Trulis v. Barton, 107 F.3d 685, 691
3 (9th Cir. 1997); Duplessis v. Valenti (In re Valenti), 310 B.R.

4 138, 150 (9th Cir. BAP 2004)

5          Under § 1327(a), the third modified plan is res judicata as

6 to any issues the debtors could have raised-but failed to raise

7     -regarding the constitutionality of CCC § 2000. Certainly the
8 debtors knew well before the third modified plan was confirmed
9 that the co-debtor's 50% interest in the corporation would be
10 sold and proceeds from that sale used to fund the plan. The
11 debtors also knew as early as the stay relief proceedings, and
12 thus well before the third modified plan was confirmed, that the
13 CCC § 2000 process was to continue before this court. Yet, the
14 debtors made no mention of any constitutional objection to CCC

15    § 2000 prior to confirmation or when the third modified plan was

16    confirmed. The res judicata effect of the order confirming the

17    third modified plan now precludes those challenges under

18    § 1327 (a)
19         Based on the foregoing, the court concludes that the post-
20 confirmation sale required by the "additional provision" of the
21 debtors' confirmed third modified plan and the valuation and
22 transfer motion are governed by CCC § 2000. Therefore, the court
23 vacates and amends its oral rulings of September 9, 2015, and its
24 order of September 11, 2015, and replaces both with this

25    memorandum decision. And based on this court's amended decision,
26 the court will enforce and implement the third modified plan in

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the following manner:
               The court will hold an evidentiary hearing on
Thursday, November 19, 2015, at 10:00 a.m. at which time it will
hear live testimony from the parties' joint appraisers and at or
after which it will confirm, or adjust if warranted, the fair

value" stated in the Joint Fair Valuation Report of Alan Statz
and John Toney [dkt. 108, exhibit 1] . See Orange County Nursery,
439 B.R. 144, 152 (C.D. Cal. 2010) ("Whether the appropriate
valuation is the [§ 20001 appraised value or some other value is
a matter for the Bankruptcy Court to determine in the first

instance.")
               The court will resolve the debtors' remaining
objections to the appraisal report reserved on September 9, 2015,

at or very shortly after the evidentiary hearing.
               The award of the joint appraisers determined
following the evidentiary hearing, as confirmed by this court,
shall then be final and conclusive upon all parties.
               The court will enter a decree which shall provide

in the alternative for winding up and dissolution of the
corporation unless payment is made for the co-debtor's shares

within the time specified by the decree.
                If the corporation, as the purchasing party,
desires to prevent the winding up and dissolution it shall pay to
the co-debtor or tender to the trustee the value of the co-

debtor's shares ascertained and decreed within the time
specified, or, in case of an appeal, as fixed on appeal. On


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 1 receiving such payment or the tender thereof, the co-debtor shall

2 transfer her corporate shares to the corporation.

3              (6) If the corporation does not make payment for the

4 shares within the time specified in the court's decree, judgment

5    shall be entered against it and the surety or sureties on the

ri bond for the amount of the expenses (including attorneys' fees)
 7   of the co-debtor.

 8
 9        B.   The Corporation's Reguest for Extension to Remove the
               CCC § 2000 Proceeding Pending in State Court is Denied
10             as Moot.

11        Based on the court's decision stated above, the
12 corporation's request under Federal Rule of Bankruptcy Procedure
13 9006(b) (1) to extend the time in 28 U.S.C. § 1452 and Federal
14 Rule of Bankruptcy Procedure 9027 to remove the CCC § 2000

15   proceeding pending in the Solano County Superior Court will be

16   denied as moot.
17
18        C.   The Valuation and Transfer Motion is a Core Proceeding
               or, if Non-Core, is a Proceeding that the Corporation
19             Consented to Have Determined by a Bankruptcy Judge.

20        The corporation requests a determination as to whether the

21 valuation and transfer motion is a core or non-core matter.
22 Confirmation of the chapter 13 plan was a core matter under 28
23 U.S.C. §§ 157(b) (2) (B), (L) and (0).          The valuation and transfer

24 motion asks the court to interpret and implement the debtors'

25   confirmed third modified plan in general and the sale provisions

26   of that confirmed plan in particular. This court has core

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 1    jurisdiction to do that. In re Lyondell Chem. Co., 445 B.R. 277,

2     287 (Eankr. S.D.N.Y. 2011) ("[A] bankruptcy court retains core

3     jurisdiction to interpret and enforce its own prior orders,

4     including and especially confirmation orders."); see also

 5    Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009) ("[T]he

 6    Bankruptcy Court plainly ha[s] jurisdiction to interpret and

 7    enforce its own prior orders."); Williams v. Citifinancial

 8    Mortgage Co. (In re Williams), 256 B.R. 885, 892 (8th Cir. BAP

 9    2001) ("the enforcement of orders resulting from core proceedings

10    are themselves considered core proceedings"); In re Brown's

11    Chicken & Pasta, Inc., 503 B.R. 86, 90 (Bankr. N.D. Ill. 2013)

12    (bankruptcy court found to have authority to interpret its order

13    confirming a plan to determine whether items in dispute were

14    covered by a bankruptcy sale)

15

16    CONCLUSION

17         Upon consideration of the clarification motion and further

18    consideration of the valuation and transfer motion;

19         IT IS ORDERED that the clarification motion is GRANTED IN

20    PART AND DENIED IN PART as follows:

21         (1) GRANTED insofar as the court amends its prior decision

22    and concludes the valuation and transfer motion and the sale of

23    the co-debtor's 50% interest in the corporation required by the

24    third modified plan are governed by CCC § 2000;

25         (ii) GRANTED to the extent the court determines the

26    valuation and transfer motion to present a core matter; and

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        (lii) DENIED AS MOOT to the extent the corporation requests

an extension to remove the CCC § 2000 proceeding pending in the
Solano County Superior Court.
        IT IS FURTHER ORDERED that the court's prior decision
granting in part and denying in part the valuation and transfer
motion is amended for the reasons stated herein and to reflect
that the valuation and transfer motion is GRANTED.
        IT IS FURTHER ORDERED that the extension motion is DENIED AS

MOOT.
        IT IS FURTHER ORDERED that the evidentiary hearing set for
October 22, 2015, at 10:00 a.m. is VACATED and RESET toThursday,

November 19, 2015, at 10:00 a.m.
        IT IS FINALLY ORDERED that all other rulings stated orally
on the record on September 9, 2015, and the order of September
11, 2015, remain unchanged except and unless amended herein.

        Dated: October 20, 2015.



                                                     /
                        UNITED STATES BANKRUTCY JUDGE




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                         INSTRUCTIONS TO CLERK OF COURT
                                  SERVICE LIST

     The Clerk of Court is instructed to send the attached
document, via the BNC, to the following parties:

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